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 1                                                                                      Hon. Richard A. Jones

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 5                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 6                                           AT SEATTLE

 7
     MEGAN MING FRANCIS, et al.,                                        No. 2:19-cv-1317-RAJ
 8
        Plaintiffs,                                                 EIGHTH JOINT STATUS
 9                                 v.                                    REPORT

10   UNITED STATES DEPARTMENT OF
     JUSTICE,
11
        Defendant.
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     JOINT STATUS REPORT – Page 1                                                       United States Department of Justice
                                                                                   Civil Division, Federal Programs Branch
     Megan Ming Francis, et al. v. Dep’t of Justice, 2:19-cv-1317-RAJ                                     1100 L Street NW
                                                                                                    Washington, DC 20530
                                                                                                              202-514-0265
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 1             Pursuant to the Court’s April 19, 2021 Scheduling Order, plaintiffs Megan Ming Francis,

 2   Matthew J. Connelly, Mary L. Dudziak, Matthew L. Jones, Hiroshi Motomura, Campaign for

 3   Accountability, and the Knight First Amendment Institute at Columbia University (collectively,

 4   “Plaintiffs”) and defendant United States Department of Justice (“Defendant”) respectfully

 5   submit this Joint Status Report regarding Plaintiffs’ Freedom of Information Act request for all

 6   Office of Legal Counsel (“OLC”) formal written opinions1 issued prior to February 15, 1994.

 7             As described in the Fifth Joint Status Report, ECF No. 24, the parties agreed to a plan to

 8   complete processing of Plaintiffs’ FOIA request and resolve this matter. The only remaining

 9   issue is Plaintiffs’ request for Attorneys’ Fees. Defendant has responded to Plaintiffs’ fee

10   request and the parties are in the process of attempting to resolve this issue without any further

11   intervention from the Court. The parties propose that they submit either a settlement agreement

12   and stipulation of dismissal or a ninth Joint Status Report advising the Court of any need for

13   further proceedings by June 28, 2021.

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15   DATED: May 28, 2021                                 Respectfully submitted,

16
                                                         /s/ Alex Abdo
17                                                       Alex Abdo, Pro Hac Vice
                                                         Jameel Jaffer, Pro Hac Vice
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20                                                       (646) 745-8500

21   1
         As defined in Plaintiffs’ FOIA request.
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 9                                                       MARCIA BERMAN
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10                                                       Federal Programs Branch

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